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UNITED STATES DISTRICT COURT. eS EE
DISTRICT OF MASSACHUSETTS
PAUL JONES,
Plaintiff.
V. Civil Action No. 1:20-cv-12076-TSH
MONTACHUSETTS REGIONAL
TRANSIT AUTHORITY
Defendant.

MOTION TO STRIKE PLAINTIFF’S MOTION FOR PARTIAL

SUMMARY JUDGMENT

Now comes Plaintiff Paul Jones to move the court to strike plaintiffs Partial Motion for
Summary Judgment documents including Docket 23, 24,25, 28 and 33 from the docket regarding

Case 1:20-cv-12076-TSH.

I have conferred with the defendant’s counsel of record on December 8, 2023, by email and
defendant’s attorney opposes my motion to Strike my dockets pertaining to Plaintiffs Partial

Summary Judgments.

Respectfully Submitted

Paul Jones //

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CERTIFICATE OF SERVICE

I hereby certify that on December 8, 2023, I email the defendant and mailed a copy First Class

by the United States Postal Service to the defendant’s attorney of record.

Paul Jones /s/ Paul Jones December 8, 2023
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